                 Case: 2:18-mj-00097-KAJ Doc #: 4 Filed: 02/12/18 Page: 1 of 1 PAGEID #: 8

AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                   Southern District of Ohio at Columbus


                  United States of America                           )
                             v.                                      )      Case No. 2:18-mj-97
                                                                     )
                       Gerald A. Lawson                              )
                             Defendant                               )




                                         ORDER SCHEDULING A DETENTION HEARING




          A detention hearing in this case is scheduled as follows:


Place:    Jos. P. Kinneary United States Courthouse                         Courtroom No.:        228
          85 Marconi Blvd.
          Columbus, OH 43215                                                Date and Time:        2/14/2018 2:45 PM

        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:           2/12/2018                                                                    /s/ Kimberly A. Jolson
                                                                                                 Judge’s signature



                                                                             Kimberly A. Jolson, United States Magistrate Judge
                                                                                               Printed name and title
